
*67OPINION.
MtjRdock:
The petitioner’s first allegation of error was denied by the respondent, is not supported by the evidence and, if we understand it correctly, is without merit. The petitioner filed a corporation income-tax return for the full year and paid some tax on the basis of this return, whereas the corporation should have filed a corporation income-tax return for a portion of the year and the petitioner should have reported the income from this same business for the last three months of the year in his individual income return for that year. In such a situation he is not relieved from paying his tax computed on a proper basis merely because the corporation paid tax calculated on an improper basis.
Apparently his third allegation of error was abandoned. At any rate it is not supported by the evidence, for revenue agents’ reports which have not been shown to have been used by the Commissioner in determining the deficiency are irrelevant and immaterial to this issue.
In support of the fourth allegation of error it was proven that after September 30, 1918, the petitioner’s books showed that $14,638.62 had been paid for goods purchased. But the testimony of the petitioner himself in regard to these purchases was so confusing that we are unable to say whether the goods were purchased by the *68corporation or by the petitioner as an individual. In addition we have never been shown what the Commissioner did in regard to these purchases and we are unable to say that what he did was in error.
The petitioner’s fifth contention was denied and to support it a reconstructed balance sheet of the corporation as of March 1, 1918, was offered in evidence. This balance sheet was supposed to show the earnings of the corporation as of that date, but on cross-examination it was shown to contain material errors. Even had it been accurate we would need to know other facts before we could decide that earnings of years prior to March 1, 1918, were distributed in 1918.
On all of the above points we sustain the Commissioner.
There is left for our further consideration only the second allegation of error in regard to the fair market value of the accounts receivable at the time they were taken over by the petitioner as an individual. The petitioner called two witnesses and also testified himself to prove that these accounts receivable were worth only 45 per cent of their face value. Each of the three witnesses was allowed to testify without objection that in his opinion these particular accounts receivable had a fair market value of not more than 45 cents on the dollar. Each witness was familiar with the accounts receivable of the Union Furniture Co. on September 30, 1918. Each had had experience buying and selling other accounts of a similar nature. Their testimony was not weakened on cross-examination and was not contradicted or qualified in any way. Therefore, we hold that these accounts receivable should be taken at 45 per cent of their face value in determining the profit which the petitioner received from the corporation at the time of its dissolution.

Judgment will be entered in accordance with the foregoing ofinion on notice of 15 days, under Rule 50.

Considered by SterNhagen and AetjNdbll.
